                    UNITED STATES DISTRICT COURT
                                          Northern District of Texas


DINA WINGER                                             §
PLAINTIFF                                               §
                                                        §
VS.                                                     §
                                                                       CAUSE NO. 3:24-cv-01797-G
                                                        §
AT&T, INC.
                                                        §
DEFENDANT
                                                        §
                                                        §
                                                        §
                                                        §

                                     SUMMONS IN A CIVIL ACTION
                                        RETURN OF SERVICE



This SUMMONS IN A CIVIL ACTION, CLASS ACTION COMPLAINT, NOTICE OF APPEARANCE OF
ADDITIONAL COUNSEL JEFFREY LUCAS OTT, CERTIFICATE OF INTERESTED
PERSONS/DISCLOSURE STATEMENT, NOTICE AND ELECTION REGARDING CONSENT TO
PROCEED BEFORE A UNITED STATES MAGISTRATE JUDGEfor AT&T, Inc. c/o Registered Agent CT
CORPORATION SYSTEM was received by me on Monday, July 15, 2024 at 4:47 PM.

I delivered the above-mentioned documents to Intake Specialist: William Miller who represented that
they were authorized to accept service on behalf of AT&T, Inc. c/o Registered Agent CT CORPORATION
SYSTEM on Tuesday, July 16, 2024 at 3:39 PM at 1999 BRYAN STREET STE. 900, DALLAS, TX
75201.

I am over the age of eighteen, and am not a party to this case.

I declare under penalty of perjury that this information is true.

Tuesday, July 16, 2024

Tracy Dewayne Edwards
Tracy Dewayne Edwards
Process Server
1015 Devonshire Drive South
Forney, TX 75126



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